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lN THE UN|TED STATES BANKRUPTCY COURT
FOR THE NORTHERN DlSTRlCT OF TEXAS

DALLAS D|V|SlON
in re: §
§
Raymond Cosme § Case No. 06-31209-BJH-7
§
§
Debtor. § (Chapter 7)

DEBTOR’S AFF|DAV|T

Before me, the undersigned authority, on this date, personally appeared Raymond
Cosme who, upon being duly sworn, stated:

1. My name is Raymond Cosme. l am a debtor in the above-referenced
bankruptcy case. i am over the age of 21 years and | am otherwise competent to make this
affidavit The statements made herein are based on my personal knowledge and are true and
correct

2. inasmuch as i am self employed, | have not received a payment advice or any
other payment from any employer within the sixty (60) days before the date of the filing of my
voluntary petition under Chapter 7 of Title 11 of the United States Code.

FURTHER, AFF|ANT SA|D NOT.

By: } Ra§/mond Cosme

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State of Texas

County of Dalias

BEFORE iViE, the undersigned authority, on this day personally appeared Raymond
Cosme who being by me duly sworn that he had read the above affidavit and that the

statements contained herein are true and correct.

SUBSCR|BED AND SWORN to before me this 5 day Of( Q)QQQ t , 2006.

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°`» the State of Texas

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